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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                      8:18CR338

        vs.
                                                                         ORDER
KATINA MARIA MARTINEZ,

                        Defendants.


       This matter is before the Court on the government’s Restricted Motion for Extension of the
Rule 16 Discovery Deadline and Exclusion of Time Pursuant to the Speedy Trial Act (Filing No.
34). The government is asking in their motion that the court declare this case as complex and adjust
the Rule 16 discovery deadline during defendant’s arraignment. The defendant had her arraignment
on December 12, 2018. The government did not bring up this issue at arraignment, and a progression
order has already been entered. On December 14, 2018 the court granted this same motion as to
defendant’s co-defendant, Keevan Dean. The defendant, through her attorney, Pedar Bartling, does
not object to the government’s motion. The court will grant the government’s motion as to the
defendant. The Court finds that the ends of justice are served by granting the government’s motion
and outweigh the interests of the public and the defendant in a speedy trial. The court specifically
finds that this case is complex due to the nature of the prosecution and the amount of discovery.
See 18 U.S.C. ' 3161(h)(7)(A) and (B). Therefore, the government’s request for an extension of
time to produce Rule 16 discovery in this matter shall be granted. The government shall provide
Rule 16 discovery to the defendant on or before January 11, 2019. The defendant shall file pretrial
motions on or before February 8, 2019.


       IT IS ORDERED:
        1.     The government’s Restricted Motion for Extension of the Rule 16 Discovery
 Deadline and Exclusion of Time Pursuant to the Speedy Trial Act (Filing No. 34) is granted.

        2.     The government shall provide Rule 16 discovery on or before January 11, 2019.
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        3.     The defendant shall file pretrial motions on or before February 8, 2019.


        4.     The ends of justice have been served by granting such request and outweigh the
interests of the public and the defendants in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., from December 13, 2018 through February 8, 2019, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reasons stated above. It is unreasonable to otherwise expect the parties to be adequately
prepared for pretrial proceedings or trial and the failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. ' 3161(h)(7)(A) & (B).


       Dated this 20th day of December, 2018.

                                                      BY THE COURT:

                                                      s/ Susan M. Bazis
                                                      United States Magistrate Judge




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